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Case 2:13-cv-07726-CBM-AJW Document 77 Filed 12/23/14 Page1ofii Page ID #:6

HILDA VASQUEZ, individually and as personal representative of the ESTATE OF EDGAR
GARCIA, THE ESTATE OF EDGAR GARCIA

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

HILDA VASQUEZ, individually and as
personal representative of the ESTATE OF
EDGAR GARCIA, THE ESTATE OF
EDGAR GARCIA

Plaintiffs,
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CITY OF SANTA PAULA; THE SANTA
PAULA POLICE DEPARTMENT; Interim
Chief, ISMAEL CORDERO; OFFICER
HECTOR RAMIREZ, individually and in his
official capacity as a Police Officer for the
CITY OF SANTA PAULA; OFFICER
CHAD PEPLINSKI, individually and in his
official capacity as a Police Officer for the
CITY OF SANTA PAULA; AND DOES 1 to
50, inclusive, individually and in their official
capacities as POLICE OFFICERS for the
CITY OF SANTA PAULA.

Defendants.

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Pursuant to Local Rule 16-4, Plaintiffs hereby submit their Memorandum of

Contentions of Fact and Law.

CASE NO. CV 13-07726- CBM (AJ Wx)

Judge: Consuelo B. Marshall
PLAINTIFFS’ MEMORANDUM OF
CONTENTIONS OF FACT AND LAW
PER LOCAL RULE 16-4

Pretrial Conference: January 13, 2015
Trial: February 17, 2015

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PLAINTIFFS’CONTENTIONS OF LAW AND FACT, Local Rule 16-4

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PLAINTIFFS’ CONTENTIONS OF FACT:
A.

The incident giving rise to this claim occurred on July 28, 2012 at
approximately 7:46 p.m. Santa Paula Police officers responded to a
residential disturbance call at 1117 New Street in the CITY OF
SANTA PAULA, County of Ventura, State of California. During her
radio call, the dispatcher immediately indicated to responding officers
that “EDGAR GARCIA” was the party sought. Upon their arrival,
two officers allegedly were fired upon by some unknown suspect and
as a result, Officer Chad Peplinski was shot in the buckle of his belt
and an “Officer Down” call came out on the radio thereby summoning!
more police response.
Immediately after the gunfire and chaos, EDGAR GARCIA was
observed running to the rear of the residence where he was met by
Officer Hector RAMIREZ, who had been lying in wait on the northern
most side of the cinder block retaining wall separating 1117 New
Street from the property directly behind the residence to the North.
Officer RAMIREZ claims that EDGAR GARCIA attempted to jump
onto the north retaining wall where he was waiting and upon seeing
him (Officer RAMIREZ), Mr. GARCIA jumped down and back into
the backyard. Officer RAMIREZ claims that he, too, jumped down onl
the opposite side of the retaining wall to draw his weapon. After
obtaining his weapon, Officer RAMIREZ, who is approximately 5°9”
tall, claimed that he stood upon several tires to peer over the six foot
(6°) cinder block wall and upon visually locating Mr. GARCIA,
immediately ordered him to get down on the ground (disputed). It ig
this crucial time that there are conflicting reports as to what actually

happened next.

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PLAINTIFFS*CONTENTIONS OF LAW AND FACT, Local Rule 16-4

 
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C, In an audio recording of the incident recorded by Officer Scott Varner
as it happened, Officer RAMIREZ, when asked what happened by
Senior Officer Scott Varner, claimed that EDGAR GARCIA stated “he
pointed a gun at me, I Shot back.” At his deposition, Officer
RAMIREZ claimed that EDGAR GARCIA was turned in his direction
and while back peddling, pointed his weapon at him while making
“jerking movements.” Plaintiffs are of the belief that RAMIREZ made
this claim in an attempt to make it appear that EDGAR was attempting
to shoot his weapon at him. It needs to be established at this time that
at her deposition, Ventura County Sheriff's Department Forensic
Scientist, Janey Dunn, testified that Mr. GARCIA’s weapon was
operational and had a round in the chamber at the time it was
recovered on the ground by law enforcement after EDGAR GARCIA
was shot, thereby disproving Officer RAMIREZ’s allegation that Mr.
GARCIA was attempting to shoot him. Also, while listening to Scott
Varner’s recording, Officer RAMIREZ while testifying at hig
deposition was asked if he could hear himself telling Mr. GARCIA to
“get down.” He admitted that he could not.

D. Officer RAMIREZ admits that he shot six (6) rounds at Mr. GARCIA
while at a time when Mr. GARCIA was only 10° away from him and
as he was “back peddling” eastbound while allegedly pointing his|
weapon at the officer. Because Officer RAMIREZ missed him six (6
times at point-blank range, Mr. GARCIA, fearing for his life, turned
toward the east and ran toward the Eastern Cinder Block retaining wall
of the residence in an attempt to escape Officer RAMIREZ’ attempts
to shoot and kill him. While running away from the officer and while
his back was towards Officer RAMIREZ, Officer RAMIREZ elected

to kill Mr. GARCIA by firing an additional 7" and 8" round at Mr.
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GARCIA who at this time, as admitted by Officer RAMIREZ, was|
approximately forty (40’) feet away from him. At his deposition
Officer RAMIREZ admitted not seeing any weapon in Mr. GARCIA’s
hands during the time he was firing his 7 and 8" shots as well.
Officer RAMIREZ admits that there was no one else in the backyard
with he and EDGAR GARCIA at this time as too, but claimed that hel
shot Mr. GARCIA because he feared for his safety, the safety EDGAR
GARCIA’S family, of his fellow police officers, the public and the
safety of the dispatchers who were several blocks away at police
headquarters. It was at this point that the evidence shows that Officer
RAMIREZ Shot his 40 Caliber Handgun at Mr. GARCIA striking him
in the back once whereby the bullet exited through his chest just right
of his left nipple and reentered his left forearm and exiting it as well.
As a result, Officer RAMIREZ reports that Mr. GARCIA turned his
body towards him and screamed a very loud primal yell at him,
dropped to his knees (one at a time), and fell down on his face.

E. Officers Huerta, Shilo and RAMIREZ assisted each other in
handcuffing Mr. GARCIA in the Prone position and allowed him to lie
there for approximately 18.5 to 19 minutes before any medical
personnel were allowed to attempt to treat him. No officers,
admittedly, ever provided Mr. GARCIA any direct pressure or any
other emergency medical services. Several witnesses of this incident
have testified at deposition; emergency personnel, police officers and|
citizens who witnessed the shooting. Each of those witnesses,
including the medical examiner who performed the autopsy of Mr.
GARCIA, Dr. Ronald O’Halloran, testified that the amount of time
Mr. GARCIA lay on his stomach bleeding from the back/chest wound

was anywhere from 18.5 to 19 minutes.
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Officer Huerta, who too was recording the entire incident, was ordered
to secure the backyard and Mr. GARCIA while the residence was
being “cleared.” Officer Huerta, too, recorded the entire event. In
Officer Huerta’s recording of the incident, you can hear the laboredi
agonal breathing of EDGAR GARCIA and essentially him taking his
last breaths while Officer Huerta, who was not in the backyard during
the exchange with Officer RAMIREZ and who had not yet had an
opportunity to discuss the matter with Officer RAMIREZ, began
yelling at Mr. GARCIA “why did you point your gun at the officer” in
an attempt to admittedly elicit a dying declaration from the gravely
injured EDGAR GARCIA. At his deposition, Officer Huerta admits
that he had no basis for asking that question from the dying EDGAR
GARCIA but that he was trained to do that.

Other than giving his death cry, EDGAR GARCIA never said
anything after he was shot by Officer RAMIREZ, but there is no doubt
that he experienced great pain and suffering as a result of receiving a
through and through shot to the back and left forearm. When asked
why he shot at the fleeing EDGAR GARCIA, Officer RAMIREZ
claimed that he was allowed to do so to protect other officers and the
public, however, at his deposition RAMIREZ testified that there was
no other officers or persons in the backyard of the residence other than
himself and EDGAR GARCIA.

The SANTA PAULA POLICE DEPARTMENT's General Order No.
8-1 VI requires that a suspect injured at a scene be provided medicall
attention immediately, once it is safe to do so. The SANTA PAULA
POLICE DEPARTMENT claims that the reason they failed to provide
immediate medical attention to EDGAR GARCIA was because they

had to clear the residence first before they would allow Medical
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Personnel to come upon the property. This condition precedent was
caused mostly because of an intentionally false report made by,
Reserve Officer Shilo immediately after the shooting. Officer Shilo
claimed that he observed four outstanding suspects jumping over the
same northern cinder block retaining wall that Officer RAMIREZ was
posted on. The problem here is that Officer RAMIREZ testified and
denied ever seeing any such suspects at his deposition. However, onl
officer Varner’s recording of the entire event, including Reserve
Officer Shilo’s claim, Officer’s Varner, Shilo, Peplinski and
RAMIREZ were all present and in close proximity to one another and
at no time did Officer RAMIREZ deny Reserve Officer Shilo’s claim
in order to prevent the expenditure of the minimal police resources at
the scene to locate these “outstanding suspects” and to secure the
scene.

I. While Mr. GARCIA lay handcuffed behind his back, profusely
bleeding from his chest arms and mouth, and placed in the prone
position with his mouth and nose pointing perpendicular to the ground]
Officer Scott Varner stood outside the residence and asserted that they
(the police) needed to “clear the residence” on three (3) separate
occasions over a four (4) to five (5) minute period of time. During the
search of the residence, it can be heard and Officer Varner testified to
and confirmed, that he could hear and identify on his audio recording
Officer RAMIREZ, whom he had ordered to stay with Officer
Peplinski, transmitting over the police radio to medical personnel to
“stand by.” This is the same man who less than six (6) minutes prior,
shot EDGAR GARCIA. It took Officer Varner and two other law
enforcement officers approximately 13 to 14 minutes to clear the

approximately 1400 sq foot home. Officer Varner admits that he did
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not have enough police personnel at the scene when he began his
search. It should be noted that after Mr. GARCIA was shot and
handcuffed, Officer Varner on his police radio told Sheriffs personnel
who were responding to the scene to “downgrade” which means tol
turn off their lights and sirens and take their time. During his search,
Officer Warner testified that he could hear over his radio Sgt. Cody,
Madison, who now was the senior person at the scene, clear medical to
the residence some 14 minutes after Mr. GARCIA was shot without
clearing it through him. He later admitted that he still felt the scene
was unsafe but did not discuss this with Sgt. Madison.

Despite Sgt. Madison’s clearing medical personnel to go to the rear of
the residence, medical still did not reach Mr. GARCIA for another 4 to
5 minutes.

Plaintiffs are of the belief and thereon allege that had Reserve Officer
Shilo not put this false report out at the scene, emergency medical
responders, who were staged outside the perimeter of the scene, would
have been allowed to enter the residence and possibly save the life of
EDGAR GARCIA or at the very least provide him with pain
medication and medical treatment that would have made him
comfortable before he expired, instead of causing him to have to
endure the pain and suffering he did based on a false allegation of
Officer Shilo.

EDGAR GARCIA died like a dog by the hands of the SANTAI
PAULA POLICE DEPARTMENT. At the end of Officer Scott
Vamer’s recording of the shooting, some of the officers discuss this
false report and determine that it was in fact, falsely made by Reserve

Officer Shilo.

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M. At is deposition, Ventura County Medical Examiner Dr. Ronald
O’Halloran, M.D. testified that had Mr. GARCIA received proper
immediate medical treatment and got to a trauma center quickly, Mr.
GARCIA may have survived the shooting.

II. PLAINTIFFS’ CONTENTION OF LAW:

A. Tennessee y. Garner, 471 U.S. 1, (1985).

Plaintiffs are of the belief and thereon allege that the shooting of EDGAR GARCIA was
not Justifiable and does not meet the constitutional standards in the holding of Tennessee v.
Garner, 471 U.S. 1, (1985). In Garner, the Court held that deadly force was not proper unless an
“officer has probable cause to believe that the suspect poses a significant threat of death of
serious physical injury to the officer or others.” Emphasis added

B. Graham vy. Connor, 490 U.S, 386 (1985):

The standard for review of an excessive force case is an objective one pursuant to the
holding in Graham vy. Connor, 490 U.S. 386 (1985) (1985). In Graham, Justice Rehnquist,
writing for the Majority, stated that “a// claims that law enforcement officers have used
excessive force-deadly or not- in the course of an arrest, investigatory stop, or other “seizure” of
a free citizen should be analyzed under the Fourth Amendment and its “reasonableness”
standard, rather than under a “substantive due process” approach. . . .

The factors cited in Graham are as follows:

Le The severity of the crime at issue;
oe Whether the suspect poses an immediate threat to the safety of the officers or
others; and

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Whether he is actively resisting arrest or attempting to evade arrest by flight; See

Tennessee v. Garner, 471 U.S., at 8-9

Here, Plaintiffs contend that Officer Ramirez was unable to state any felony that he

observed EDGAR GARCIA commit, that at best, Mr. GARCIA pointed the gun at him but did

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not fire it. Instead, Officer RAMIREZ states, as heard on the audio recording made by Officer
Scott Varner as the incident actually happened, “he pointed a gun at me, I shot back.”

Plaintiffs further contend that EDGAR GARCIA was not actively resisting arrest at the
time that he was shot, but was in fact attempting to escape Officer RAMIREZ’ attempts to kill
him when he was in fact shot in the back by Officer RAMIREZ. Officer RAMIREZ admitted at
his deposition that he shot Mr. GARCIA at a time when his back was pointed towards him and as
he was running away. He further admits that he did not see any weapon in possession of Mr.
GARCIA at the time he fired the fatal shots.

C. Cruz v. City of Anaheim, No. 12-5548] (9" Cir. 2014):

In Cruz, Judge Kozinski, citing Scott vy. Henrich, 39 F.3d 912, 915 cg" Cir. 1994) stated
“we cannot “simply accept what may be a self-serving account by the police officer’ because the
person most likely to rebut the officers’ version of the events—the one killed—can’t testify,
*[t]he judge must carefully examine all the evidence in the record . . . to determine whether the
officer’s story is internally consistent and consistent with other known facts.”

In the instant matter, Plaintiffs contend that Officer RAMIREZ was not authorized to use
deadly force and did violate GARCIA’S 14" amendment rights because he was not justified to
do so because Mr. GARCIA was not posing an immediate threat to him or the public by running
the opposite way from the officer, who was standing behind a 6’ cinder block wall and could not
see any weapon in Mr. GARCIA’S hands as he ran from him and at the time he made the fatal
shots.

D. Monell v. New York City Dept. of Social Services, 436 U.S. 658 (1978):

The CITY OF SANTA PAULA AND THE SANTA PAULA POLICE DEPARTMENT
Claim that the Police Department did nothing to raise any Municipal Liability under a Monell
Theory.

Monell authorizes Section 1983 lawsuits against Police Departments and Municipal
entities when their policies, customs, and practices are responsible for the Unconstitutional

Deprivations of Citizen’s rights.

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E. City of Canton v. Geraldine Harris, 489 U.S. 378, (1989):

City of Canton is the leading U.S. Supreme Court Case regarding failure to train police
officers. The Court in City of Canton reasoned that “the inadequacy of police training may serve
as the basis for Section 1983 liability only where the failure to train in a relevant respect amounts
to deliberate indifference to the constitutional rights of persons with whom the police come into
contact... ; that a city is not liable under Section 1983 unless a municipal “policy” or “custom”
is the moving force behind the constitutional violation. Only where a failure to train reflects a
“deliberate” or “conscious” choice by the municipality can the failure be properly thought of as
an actionable city “policy.” In Canton, the court reasoned that municipalities are deliberately
indifferent to the inhabitant’s Constitutional rights when they don’t train their officers regarding
the appropriate use of force in the “obvious areas” of police work where force can be
foreseeable.

Footnote No. 10 of the Canton decision helps to explain the obviousness rule here in its
entirety:

For example, city policymakers know to a moral certainty
that their police officers will be required to arrest fleeing
felons. The city has armed its officers with fire3arms, in
part to allow them to accomplish this task. This, the need
to train officers in the constitutional limitations on the use
of deadly force, see Tennessee v. Garner, 471 U.S. 1, 105
S.Ct. 1964, 85 L.Ed.2d 1 (1985), can be said to be “so
obvious,” that failure to do so could properly be
characterized as “deliberate indifference” to constitutional
rights.

It could also be that the police, in exercising their
discretion, so often violate constitutional rights that the
need for further training must have been plainly obvious to
the city policymakers, who, nevertheless, are “deliberately
indifferent” to the need.

EF. SANTA PAULA POLICE DEPARTMENT, General Order 8-1:

General Order 8-1 outlines the SANTA PAULA POLICE DEPARTMENT'S policies
and procedures regarding the Use of Deadly force, and when to provide medical attention to a

detainee/suspect who has been injured as a result pf one its officer’s use of deadly force upon the

 

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detainee/suspect. Defendants, allege that said policy was adhered to in this matter and that it
meets 14 Amendment U.S. Constitutional muster.
Plaintiffs contend that it does not!

DATED: [2 -Z22—/ f LAW QFFICES OF VICTOR SALAS, JR.

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EDGAR GARCIA

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